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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
SK/RCH/EMR/PP/AA                                 271 Cadman Plaza East
F. #2019R00927                                   Brooklyn, New York 11201



                                                 June 6, 2024

By ECF

U.S. Probation Officer Gregory Giblin
United States Probation Department
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

              Re:    United States v. Genaro Garcia Luna
                     Criminal Docket No. 19-576 (S-1) (BMC)

Dear Probation Officer Giblin:

               The government writes in response to the defendant’s May 31, 2024,
objections to the Presentence Investigation Report dated April 19, 2024 (“PSR”), each
addressed below:

       • Paragraphs 15-18: The defendant objects to the description of the offense
         conduct, arguing that he “did not assist any drug cartels.” ECF No. 260 at 1. As
         the government amply proved at trial, and the jury found beyond a reasonable
         doubt, the defendant conspired with the Sinaloa Cartel and accepted tens of
         millions of dollars of bribes in exchange for assisting the Sinaloa Cartel with
         importing large quantities of cocaine into the United States. Accordingly, the
         government respectfully requests that the Probation Department decline to modify
         these paragraphs of the PSR.

       • Paragraph 20: The defendant objects to the PSR’s description of his attempt to
         obstruct justice by bribing or otherwise corruptly convincing inmates to file false
         affidavits in support of his Rule 33 motion for a new trial and “denies the
         allegations.” ECF No. 260 at 1. As set forth in the government’s March 1, 2024,
         opposition to the defendant’s Rule 33 motion, see ECF Nos. 253, 254, the
         government has obtained ample evidence establishing that the defendant corruptly
         solicited and then filed a false affidavit in support of his Rule 33 motion and
         schemed to obstruct justice and suborn perjury by seeking to bribe or corruptly
         convince multiple inmates at the MDC to attest to these same false allegations.
         See ECF No. 253 at 26-37. Evidence of the plot includes, but is not limited to:
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         (a) at least two witnesses (Individual 2 and Juan Carlos Nava Valencia) who
         learned of these efforts at the time of their commission; (b) the contemporaneous
         notes taken by Individual 2 memorializing his conversations with the defendant
         about these efforts; (c) an audio recording of a conversation between the
         defendant and Individual 2 where the defendant coached Individual 2, and by
         extension Individual 1, on what allegations they should levy against Juan Carlos
         Nava Valencia, Oscar Nava Valencia, and Edgar Veytia; and (d) instructions
         contained in a document that were passed to Individual 1 on behalf of the
         defendant to craft false allegations. See id. Accordingly, the government
         respectfully requests that the Probation Department decline to modify Paragraph
         20 of the PSR.

      • Paragraphs 24, 29, 38, 46, 48, 51 and 86: The defendant objects to the base
        offense level and total offense level, as well as the final Guidelines calculation,
        arguing that certain enhancements discussed below do not apply. For the reasons
        set forth below, the PSR correctly applies the Guidelines enhancements and,
        accordingly, correctly calculates the base offense level, total offense level, and
        Guidelines range. The government respectfully requests that the Probation
        Department decline to modify these paragraphs of the PSR.

      • Paragraphs 28 and 37: The defendant objects to the two-point enhancement for
        obstruction of justice pursuant to U.S.S.G. § 3C1.1. For the reasons set forth in
        the government’s opposition to the defendant’s Rule 33 motion and discussed
        supra, the government has proved, by at least a preponderance of the evidence,
        that the defendant attempted to obstruct justice in connection with his Rule 33
        motion by seeking to bribe or corruptly convince multiple inmates at the MDC to
        submit false allegations in an attempt to convince the Court to overturn his jury
        verdict. The government respectfully requests that the Probation Department
        decline to modify these paragraphs of the PSR.

      • Paragraph 31: The defendant objects to the two-point enhancement for a
        dangerous weapon or firearm being possessed pursuant to U.S.S.G.
        § 2D.1.1(b)(1), claiming that he “did not provide armed guards for the Sinaloa
        Cartel.” ECF No. 260 at 2. The government proved at trial that the defendant and
        his co-conspirators corruptly assisted the Cartel by providing armed police
        officers to support the Cartel’s illegal activities. For example, Sergio Villarreal
        Barragan testified that Sinaloa Cartel leaders discussed with the defendant
        operations conducted by the defendant’s federal police officers to kill rivals. See
        Trial Tr. at 90. Villarreal Barragan also testified that federal police worked
        directly with the Sinaloa Cartel’s armed hitmen to kill rivals. See Trial Tr. at 133.
        And the fact that the defendant himself did not use a weapon in furtherance of the
        criminal conduct is of no import since he not only knew of the firearms used by
        other members of the conspiracy but directed his armed police officers to conduct
        operations on behalf of the cartel. See United States v. Wynn, 37 F.4th 63, 67 (2d
        Cir. 2022) (“[T]he defendant need not have had personal possession, or even
        actual knowledge of the weapon’s presence in order to compel the application of
        section 2D1.1(b)(1)’s enhancement. . . . The enhancement is required so long as

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         the possession of the firearm was reasonably foreseeable to the defendant.”
         (citations and internal quotation marks omitted)).

      • Paragraph 32: The defendant objects to the two-point enhancement for engaging
        in the criminal conduct as a livelihood, pursuant to U.S.S.G. § 2D.1.1(b)(16),
        arguing that he was “a full time official in the Mexican government.” ECF No.
        260 at 2. Under U.S.S.G. § 4B1.3 Application Note 2, which provides the
        definition of criminal livelihood, “‘engaged in as a livelihood’ means that (A) the
        defendant derived income from the pattern of criminal conduct that in any twelve-
        month period exceeded 2,000 times the then existing hourly minimum wage under
        federal law; and (B) the totality of circumstances shows that such criminal
        conduct was the defendant’s primary occupation in that twelve-month period (e.g.,
        the defendant engaged in criminal conduct rather than regular, legitimate
        employment; or the defendant’s legitimate employment was merely a front for the
        defendant’s criminal conduct).” In assessing the totality of the circumstances of
        whether the criminal conduct was the defendant’s primary occupation, courts
        consider, for example, “the proportion of income a defendant derived from
        criminal as opposed to legitimate sources.” United States v. Pristell, 941 F.3d 44,
        55 (2d Cir. 2019). Here, the defendant earned tens of millions of dollars from the
        Sinaloa Cartel in bribes, in comparison to the salary he earned as a Mexican
        government official. And the defendant’s position in the Mexican presidential
        cabinet was a front for the defendant’s membership in the Sinaloa Cartel because
        the defendant used his official position to covertly and corruptly further the
        Sinaloa Cartel’s criminal goals. Thus, the evidence shows that the defendant
        engaged in this criminal conduct as a livelihood.

      • The government does not object to the defendant’s corrections regarding his
        personal history.

                                                Respectfully submitted,

                                                BREON PEACE
                                                United States Attorney

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cc:   The Hon. Brian M. Cogan (by ECF)
      Counsel of Record (by ECF)



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